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VIA CM/ECF

July 29, 2024

Patricia S. Dodszuweit
Clerk of Court
United States Court of Appeals for the Third Circuit
21400 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106

        RE: Public Interest Legal Foundation, Inc. v. Schmidt, Nos. 23-1590
            and 23-1591 (3d Cir.)

Dear Ms. Dodszuweit,

       Pursuant to Federal Rule of Appellate Procedure 28(j), Plaintiff-
Appellee/Cross-Appellant Public Interest Legal Foundation (“Foundation”)
notifies the Court of the Eleventh Circuit’s decision in Greater Birmingham
Ministries v. Secretary of State of Alabama, No. 22-13708 (11th Cir., June 26,
2024) (attached as Exhibit A).

        Greater Birmingham Ministries decided whether “records of individual
felons disqualified from voting by Alabama” are within the scope of the National
Voter Registration Act’s (“NVRA”) Public Disclosure Provision, 52 U.S.C. §
20507(i)(1). Exhibit A at 2. The Eleventh Circuit held that “[t]he public disclosure
provision squarely covers the records Greater Birmingham Ministries seeks.” Id.
The Eleventh Circuit explained, “Alabama’s efforts to keep disenfranchised felons
off its voter rolls are plainly ‘programs and activities’ that promote the ‘accuracy
and currency’ of its voter lists.” Id. at 9.

      As the Commonwealth argues here, Doc. 25 at 31-32, the Secretary of State
of Alabama also argued that the Public Disclosure Provision “requires disclosure

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of only records related to removals for reason of death or change of residence, not
denials of new voter registration applications and not removals for any other
reason.” Exhibit A at 10. “The statute’s text says otherwise,” the Eleventh Circuit
explained. “[T]he public disclosure provision’s reach is far broader than the one
mandatory list-maintenance program described in subsection (a)(4).” Id. at 11.

       Greater Birmingham Ministries supports the district court’s conclusion in
this case that Section 8(i)(1) is not limited to records concerning registrant death
and relocation. See Appx014; Doc. 36 at 35-49.

       Greater Birmingham Ministries also declined to give the Federal Election
Commission’s guidance document “any weight.” Exhibit A at 13. The Eleventh
Circuit explained, “[A]n unreasoned interpretation offered thirty years ago by an
administrative agency with no interpretive authority cannot override the plain text
of the Act.” Id. Appellants rely on the same FEC guidance document in this appeal.
See Doc. 25 at 29 n.7.

       Greater Birmingham Ministries also addressed two other aspects of the
NVRA—electronic records and costs, Exhibit A at 14-22—which are not an issue
in this appeal.


                                        Sincerely,

                                          /s/ Noel H. Johnson
                                        Noel H. Johnson
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                                        Alexandria, VA 22314
                                        (703) 745-5870
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                                        Appellant




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                                                             [PUBLISH]

                                    In the

                 United States Court of Appeals
                         For the Eleventh Circuit

                           ____________________

                                 No. 22-13708
                           ____________________

        GREATER BIRMINGHAM MINISTRIES,
                                                      Plaintiﬀ-Appellee,
        versus
        SECRETARY OF STATE FOR THE STATE OF ALABAMA,


                                                   Defendant-Appellant.


                           ____________________

                  Appeal from the United States District Court
                      for the Middle District of Alabama
                   D.C. Docket No. 2:22-cv-00205-MHT-SMD
                           ____________________




                                                                 Exhibit A, Page 1
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        2                       Opinion of the Court                  22-13708

        Before GRANT, ABUDU, and HULL, Circuit Judges.
        GRANT, Circuit Judge:
               More than thirty years ago, the National Voter Registration
        Act required states to adopt a wide variety of policies designed to
        increase both voter participation and election integrity. The
        disclosure provision of that Act serves both goals by granting
        voters transparency into a state’s voter registration practices. See
        52 U.S.C. § 20507(i). Greater Birmingham Ministries invoked the
        public disclosure provision when it sought electronic production of
        several voter lists, including records of individual felons disqualiﬁed
        from voting by Alabama. This appeal asks whether those records
        fall within the Act’s disclosure provision, whether they must be
        produced electronically, and, if so, whether the Act limits the price
        Alabama can charge.
              The public disclosure provision squarely covers the records
        Greater Birmingham Ministries seeks. These felon disqualiﬁcation
        records concern Alabama’s activities “ensuring the accuracy and
        currency of ” its voter lists. Id. § 20507(i)(1). Electronic production,
        however, is not required for these records—or any others—under
        the Act. Instead, the Act mandates “public inspection” and
        “photocopying at a reasonable cost.” Id. Electronic production is
        neither. For that reason, the Act does not govern what fee, if any,
        Alabama is entitled to charge for electronic production of the
        records here. We therefore reverse the district court’s order
        holding otherwise.




                                                                     Exhibit A, Page 2
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                                          I.
                In 1993, to address ﬂagging voter participation in federal
        elections, Congress adopted the National Voter Registration Act,
        52 U.S.C. § 20501 et seq. See Bellitto v. Snipes, 935 F.3d 1192, 1198
        (11th Cir. 2019). The Act had “twin objectives”: to increase turnout
        by easing voter registration barriers and to protect election
        integrity by maintaining accurate and current voter rolls. Id.; see 52
        U.S.C. § 20501(b). In service of these goals, the Act required the
        states to adopt standardized registration procedures. See 52 U.S.C.
        §§ 20503–20506.       The Act also introduced new federal
        requirements designed to ensure accurate voter rolls. Bellitto, 935
        F.3d at 1198–99; see 52 U.S.C. § 20507.
               The public disclosure provision, 52 U.S.C. § 20507(i)(1), is
        among those requirements. It covers a wide range of records—all
        those “concerning the implementation of programs and activities
        conducted for the purpose of ensuring the accuracy and currency
        of oﬃcial lists of eligible voters.” 52 U.S.C. § 20507(i)(1). The Act
        requires states to “maintain” these records “for at least 2 years” and
        make them available for “public inspection and, where available,
        photocopying at a reasonable cost.” Id. The Act exempts two
        categories of records from disclosure: those relating to an
        individual’s choice to decline voter registration, and those revealing
        the identity of a voter registration agency through which a
        particular voter was registered. Id.
             Less than a decade later, in response to election-
        administration inconsistences revealed during the 2000 election,




                                                                   Exhibit A, Page 3
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        Congress passed the Help America Vote Act, requiring each state
        to maintain “a single, uniform, oﬃcial, centralized, interactive
        computerized statewide voter registration list.” 52 U.S.C.
        § 21083(a)(1)(A); see Ala. Code § 17-4-33 (implementing the Help
        America Vote Act); Bellitto, 935 F.3d at 1199. 1 Alabama maintains
        its voter registration information in a compliant electronic
        database. That database includes all registered voters, both active
        and inactive, as well as voters who were removed from the rolls and
        registration applications that were denied. The database also
        includes the reasons for these removals or denials. The Alabama
        Secretary of State, custodian of these records, is required by state
        law to sell lists of active and inactive voters to members of the
        public for “a uniform charge.” Ala. Code § 17-4-38(a), (b).
        Requestors can specify the parameters of their searches through an
        online portal, and receive the records electronically for a
        longstanding fee of one cent per name, or in hardcopy for a fee of
        one dollar per page.
               Greater Birmingham Ministries describes itself as a “multi-
        faith, multi-racial organization that provides emergency services
        for people in need and engages the poor and the non-poor in
        systemic change eﬀorts to build a strong, supportive, engaged

        1 The Help America Vote Act also amended portions of the National Voter

        Registration Act not at issue here. See Pub. L. No. 107-252, § 903, 116 Stat.
        1666, 1728 (2002). It did not, however, touch the National Voter Registration
        Act’s public disclosure provision, and specifically caveated that it did not
        otherwise “supersede, restrict, or limit the application of” the National Voter
        Registration Act. 52 U.S.C. § 21145(a), (a)(4).




                                                                           Exhibit A, Page 4
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        community and pursue a more just society for all people.” Greater
        Birmingham Ministries, Who We Are, https://gbm.org/who-we-
        are [https://perma.cc/C8LP-584A]. As part of its mission, the
        ministry promotes voter registration eﬀorts around Alabama,
        including by helping would-be voters navigate Alabama’s felon
        disenfranchisement rules. One of those rules is that citizens
        convicted of a “felony involving moral turpitude” lose the right to
        vote. Ala. Const. art. VIII, § 177(b). State law speciﬁes the
        disqualifying felonies and provides that a disenfranchised felon is
        eligible to have his right to vote restored after meeting certain
        conditions, including completion of his sentence and payment of
        any ﬁnes. Ala. Code §§ 15-22-36.1, 17-3-30.1. Greater Birmingham
        Ministries educates citizens with non-disqualifying felonies about
        the fact that they can still vote, identiﬁes eligible voters with non-
        disqualifying felonies who were erroneously removed from the
        voter rolls, and guides disqualiﬁed felons through the process of
        restoring their voting rights.
                Between May and September of 2021, Greater Birmingham
        Ministries submitted two record requests to the Secretary. First, it
        requested the list of every voter removed from the statewide voter
        rolls following the 2020 general election. Next, it requested lists
        from the past two years showing both registered voters who were
        removed from the rolls and rejected voter registration applications.
        This second request was later narrowed to only those records
        related to voters who were removed or denied registration because
        of a disqualifying felony conviction. Greater Birmingham
        Ministries was clear that it was making these requests under the




                                                                   Exhibit A, Page 5
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        National Voter Registration Act, and asked to receive both sets of
        records in electronic format at no cost.
               The Secretary’s response was mixed. He oﬀered to provide
        an electronic version of the ﬁrst list of voter records—all voters
        purged from the voting rolls following the 2020 general election—
        at a cost of one cent per name. He also oﬀered to allow in-person
        inspection of this list so that Greater Birmingham Ministries could
        decide whether to purchase a copy.2 But the Secretary refused to
        provide any records at all related to felony disqualiﬁcations; he
        asserted that the request exceeded the scope of the Act.
              Following these refusals, in December 2021 and January
        2022, Greater Birmingham Ministries sent two letters notifying the
        Secretary of its intent to sue—a required precursor to any private
        suit under the National Voter Registration Act. See 52 U.S.C.
        § 20510(b). The notice letters explained that Greater Birmingham
        Ministries understood the Act to require that “electronic records be
        made available at no cost” and alleged that the Secretary’s failure
        to provide the records in this way violated the law. The Secretary



        2 Because in-person inspection was so rarely requested, the Secretary did not

        have a formal policy governing in-person public inspection of voter records.
        While this litigation was pending, the Secretary formally adopted one. Under
        the new policy, the public can access the state’s electronic voter database in
        the Secretary’s office during normal business hours for up to four hours a day.
        They can take only limited notes and are barred from directly copying records
        from the database, but can purchase an electronic copy of the records for one
        cent per voter record, or a hardcopy printout for one dollar per page.




                                                                           Exhibit A, Page 6
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        did not respond. After waiting the statutorily required twenty days,
        Greater Birmingham Ministries ﬁled suit. See id. § 20510(b)(2).
               After a two-day bench trial, the district court ruled that the
        National Voter Registration Act entitled Greater Birmingham
        Ministries to both sets of records: the list of all voters removed
        from the rolls after the 2020 election, and the records of all voters
        removed or denied registration because of felony convictions in the
        last two years. While the court agreed that the Act did not
        generally require covered records to be produced in an electronic
        format, it held that electronic disclosure was required “in the
        speciﬁc circumstances of this case, where the records are already
        kept in digital form, where providing them in any other form
        would unduly interfere with the NVRA’s express purposes, and
        where the window of time before the registration deadline for the
        next election is so slim.” As for cost, the court ruled that the Act
        entitled the Secretary to charge a “reasonable fee,” connected “to
        the actual costs he incurs in producing responsive voter records.”
              Because Alabama’s voter registration deadline for the 2022
        general election was only weeks away at that point, the district
        court ordered the Secretary to provide Greater Birmingham
        Ministries the requested records “immediately.” The court then
        allowed the parties two weeks after the general election to reach
        agreement on a “reasonable fee.”
               The Secretary complied with the injunction and delivered
        the requested records. The one-cent-per-name charge would have
        been $1,591.37. But “[w]ithout retreating from his position” that




                                                                  Exhibit A, Page 7
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        he was entitled to charge one cent per voter record, the Secretary
        said that the electronic production had cost his oﬃce $429.17.
        Greater Birmingham Ministries, “without agreeing to the basis for
        the Secretary’s calculated costs for the records at issue” or “their
        reasonableness under the statute,” agreed to pay the production
        costs. After Greater Birmingham Ministries paid, the district court
        entered a ﬁnal judgment. This appeal followed. 3
                                                II.
               We review questions of statutory interpretation de novo.
        United States v. Bryant, 996 F.3d 1243, 1251 (11th Cir. 2021).
                                                III.
              We start with the scope of records that must be disclosed
        under the Act. The Act’s public disclosure provision covers “all
        records concerning the implementation of programs and activities
        conducted for the purpose of ensuring the accuracy and currency


        3 This appeal is not moot, either in whole or in part.         A party’s “voluntary
        compliance with an injunctive order” moots an appeal “if the appellate court
        can grant the complying appellant no relief.” Burnett v. Kindt, 780 F.2d 952, 955
        (11th Cir. 1986) (emphasis added). We could provide relief to the Secretary by
        allowing him to recover the difference between the full fee he would have
        charged had he been permitted to sell the records for one cent per record and
        the costs Greater Birmingham Ministries actually paid below. See United States
        v. Washington, 596 U.S. 832, 837–38 (2022). A favorable ruling could also
        entitle the Secretary to have Greater Birmingham Ministries “destroy or
        return” copies of any disputed records it may have in its possession. Church of
        Scientology of California v. United States, 506 U.S. 9, 13 (1992). Either possibility
        is enough to prevent this case from becoming moot.




                                                                                Exhibit A, Page 8
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        of oﬃcial lists of eligible voters.” 52 U.S.C. § 20507(i)(1). 4 The
        Secretary contends that this statutory phrase covers neither records
        relating to the disqualiﬁcation of voters because of a felony
        conviction, nor those concerning denials of new voter registration
        applications for the same reason. We disagree.
               Alabama’s eﬀorts to keep disenfranchised felons oﬀ its voter
        rolls are plainly “programs and activities” that promote the
        “accuracy and currency” of its voter lists. Alabama law requires
        that county boards of registrars purge individuals convicted of a
        disqualifying felony from their voter rolls, and deny new voter
        registration applications from disqualiﬁed felons. Ala. Code §§ 17-
        3-54, 17-4-3(a). Permitting an ineligible voter to remain on or be
        added to the voter rolls renders Alabama’s records less accurate and
        less current. 52 U.S.C. § 20507(i)(1). The lists of voters removed or
        denied registration because of felony disqualiﬁcation are thus
        included in the set of “all records concerning the implementation
        of ” these programs. Id.; see Project Vote/Voting for Am., Inc. v. Long,
        682 F.3d 331, 335–36 (4th Cir. 2012).
               The Secretary resists this common-sense reading of the
        provision. Under his interpretation, the Act’s public disclosure
        provision covers only programs and activities related to so-called
        “list maintenance,” which the Secretary deﬁnes as “updating and
        removing voters from the voter rolls that you have.” (quotation


        4 The provision contains two exceptions to the disclosure requirement not

        relevant here. 52 U.S.C. § 20507(i)(1).




                                                                      Exhibit A, Page 9
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        omitted). Candidly, by that deﬁnition the requested records would
        also seem to ﬁt. The Secretary, however, oﬀers a narrower
        interpretation of his own deﬁnition. He argues that only those
        updates carried out to satisfy a diﬀerent part of the Act,
        § 20507(a)(4), would qualify for disclosure. That subsection
        requires states to “conduct a general program of list maintenance
        that makes a reasonable eﬀort to remove voters who become
        ineligible on account of death or change of residence, and only on
        those two accounts.” Bellitto, 935 F.3d at 1195. So, by the
        Secretary’s reading, subsection (i)(1) requires disclosure of only
        records related to removals for reason of death or change of
        residence, not denials of new voter registration applications and
        not removals for any other reason.
               The statute’s text says otherwise. To start, the two
        subsections that the Secretary attempts to tie together—passed at
        the same time as part of the same parent section—use materially
        diﬀerent language. Subsection (i)(1) is about public disclosure, and
        refers broadly to “programs and activities conducted for the
        purpose of ensuring the accuracy and currency of oﬃcial lists of
        eligible voters.” Subsection (a)(4), on the other hand, is an entirely
        separate list-maintenance requirement, directing states to adopt “a
        general program that makes a reasonable eﬀort to remove the
        names of ineligible voters from the oﬃcial lists of eligible voters.”
        Plus, subsection (i)(1) does not restrict a program’s reasons for
        promoting voter roll accuracy, while subsection (a)(4) requires
        removals for only “the death of the registrant” and “a change in the
        residence of the registrant.” No other reasons. See Bellitto, 935 F.3d




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        at 1203. That suggests that the greater, (i)(1), includes but is not
        limited to the lesser, (a)(4). Those diﬀerences alone show that the
        public disclosure provision’s reach is far broader than the one
        mandatory list-maintenance program described in subsection
        (a)(4).
               What’s more, subsection (i)(1) never references subsection
        (a)(4) when deﬁning the scope of its coverage. And Congress
        knows how to connect statutory provisions, as it proved elsewhere
        in this Act. Compare, for example, subsection (c)(1), which
        explicitly refers to subsection (a)(4) to deﬁne how a state may satisfy
        the requirements of that program. Half a dozen other subsections
        in § 20507 also deﬁne, narrow, or qualify their statutory commands
        by referencing other subsections. See 52 U.S.C. § 20507(b)(2),
        (c)(1)(B)(ii), (c)(2)(B)(i), (d)(2)(A), (f ), (i)(2). 5 In short, if Congress
        had intended for (i)(1) to refer only to the mandatory program
        required by (a)(4), it knew how to say so.



        5 Subsection (i)(2) provides that the records subject to disclosure under (i)(1)

        “shall include” the names and addresses of voters who have been sent mailers
        related to the state’s program of removing voters for change-of-address. The
        Secretary argues that this further supports his reading of (i)(1) as covering only
        records related to the mandatory programs of removal for death and change-
        of-address. But the word “include” ordinarily “introduces examples, not an
        exhaustive list.” Antonin Scalia & Bryan A. Garner, Reading Law 132 (2012).
        Subsection (i)(2) instructs that a state’s program of removing voters for
        change-of-address is one of the programs covered by (i)(1)—but it in no way
        suggests that it is the only one. See Pub. Int. Legal Found., Inc. v. Bellows, 92 F.4th
        36, 48 (1st Cir. 2024).




                                                                                Exhibit A, Page 11
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               The Secretary advances two alternative arguments—and
        neither fares any better. The ﬁrst is that records of the individual
        voters removed or denied registration need not be disclosed
        because the Act applies to records concerning the
        “implementation” of covered programs. Under this reading, the
        disclosure requirement reaches only records relating to “the
        procedures a State has put into eﬀect to ensure the accuracy and
        currency of the oﬃcial lists.” (quotation omitted). Covered
        records under this deﬁnition would include, for example,
        documents describing how often the state’s purge processes occur,
        who administers them, or what criteria is used to remove voters—
        but not the aﬀected voter records themselves.
                This cramped interpretation of § 20507(i)(1) is defeated by
        its neighbor, subsection (i)(2). The Secretary argues that (i)(1) does
        not reach any records of individual voters, but (i)(2) speciﬁes that
        (i)(1) includes at least one set of such records: the names and
        addresses of individual voters who have been sent mailers as part
        of a state’s program of removing registered voters after a change
        of address.
               The Secretary’s own deﬁnitions also belie his interpretation.
        His cited dictionaries deﬁne “implement” as to “complete,
        perform, carry into eﬀect”; “carry out, execute”; or “accomplish.”
        Implement, Oxford English Dictionary (2d ed. 1989); Implement,
        Merriam-Webster’s Collegiate Dictionary (10th ed. 1993). The lists
        of voters removed from the rolls or denied registration in the ﬁrst
        place concern the “performance,” “carrying out,” and “execution”




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        of a program aimed at ensuring voter roll accuracy just as much as
        a procedure manual on program administration, even though the
        Secretary’s proposed interpretation would reach only the latter. See
        Pub. Int. Legal Found., Inc. v. Bellows, 92 F.4th 36, 46–49 (1st Cir. 2024).
               The Secretary backs up his argument with a 1994 guide from
        the Federal Election Commission. But by the Secretary’s own
        admission, that document provides no reasoning for its assertion
        that the public disclosure provision does not reach individual voter
        records. It also expressly caveats its suggestions with a warning that
        the FEC has no legal authority to interpret the Act and that the
        guide’s recommendations do not carry the force of law.6 We
        decline to give the guide any weight—an unreasoned
        interpretation oﬀered thirty years ago by an administrative agency
        with no interpretive authority cannot override the plain text of the
        Act.
                The Secretary’s second alternative argument is that, if all
        else fails, producing a customized list of records would require him
        to create new records. And that, he says, would go beyond the
        statute’s requirement for states to “maintain” and “make available”
        existing records. No. As the Secretary admits elsewhere, the
        requested records exist and are coded by felony disqualiﬁcation
        status. Just as “physically searching through and locating data


        6 Even less so now, we add; in 2002, the Help America Vote Act transferred

        the Federal Election Commission’s powers under the National Voter
        Registration Act to a newly created agency, the Election Assistance
        Commission. Pub. L. No. 107-252, § 802, 116 Stat. 1666, 1726.




                                                                       Exhibit A, Page 13
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        within documents in a ﬁling cabinet” does not ﬁll the cabinet with
        new documents, “using a query to search for and extract a
        particular arrangement or subset of data already maintained in an
        agency’s database does not amount to the creation of a new
        record.” Ctr. for Investigative Reporting v. U.S. DOJ, 14 F.4th 916, 938
        (9th Cir. 2021). Ruling otherwise would defeat the logic of a vast
        number of public disclosure laws premised on the ability of a
        requestor to receive a subset of the records a governmental entity
        holds. See, e.g., 5 U.S.C. § 552(a)(3)(A), (C).
               In sum, the records that Greater Birmingham Ministries
        seeks—lists of individuals who were either removed from the voter
        rolls because of a disqualifying felony or denied from registering
        to vote because of a disqualifying felony—are records “concerning
        the implementation of programs and activities conducted for the
        purpose of ensuring the accuracy and currency of oﬃcial lists of
        eligible voters.” 52 U.S.C. § 20507(i)(1). They are covered by the
        National Voter Registration Act’s public disclosure provision, and
        the Secretary is obligated to disclose them as the Act directs.
                                          IV.
               Our inquiry, however, does not end there. The fact that
        these records are covered by the public disclosure provision does
        not mean that requestors are entitled to receive them in any
        manner they choose. Instead, the Act requires states to make
        covered records available in two ways: (1) for “public inspection,”
        and (2) “where available, photocopying at a reasonable cost.” 52
        U.S.C. § 20507(i)(1).




                                                                   Exhibit A, Page 14
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               Greater Birmingham Ministries seeks neither of these,
        though it won’t say so outright. It asks for electronic production
        of the records, but attempts to characterize that as “public
        inspection.” The United States, for its part, asserts that electronic
        production falls within “photocopying.” But electronic production
        is neither public inspection nor photocopying; it is an entirely
        diﬀerent method of disclosure. And as much sense as it would
        make to do so, Congress has not chosen to require electronic
        production—at least not in this statute.
                                         A.
                We begin with the ordinary meaning of the words “public
        inspection,” keeping in mind the “fundamental canon of statutory
        construction” that words take “their ordinary meaning at the time
        Congress enacted the statute.” New Prime Inc. v. Oliveira, 586 U.S.
        105, 113 (2019) (alterations adopted) (quotation omitted). To
        “inspect” is to “look carefully into” or to “view closely and
        critically.” Inspect, Oxford English Dictionary (2d ed. 1989). To
        make something available for “public” inspection, then, is to make
        it available in public, or to the public, for close scrutiny. Though
        this deﬁnition alone does not establish everything that public
        inspection is, it does clarify what it isn’t—copying an item or
        permanently handing it over.
               Congress, moreover, was not drafting on a blank slate when
        it chose the words “public inspection.” Decades earlier, it had
        passed the Freedom of Information Act “to open agency action to
        the light of public scrutiny.” U.S. DOJ v. Tax Analysts, 492 U.S. 136,




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        142 (1989) (quotation omitted). As originally enacted, FOIA
        required federal agencies to “make available for public inspection
        and copying” agency opinions, policy statements and
        interpretations, and administrative staﬀ manuals and instructions.
        Freedom of Information Act, Pub. L. No. 89-487, 80 Stat. 250
        (1966); compare id. (“make available for public inspection and
        copying”), with National Voter Registration Act of 1993, Pub. L.
        No. 103-31, § 8(i)(1), 107 Stat. 77, 86 (“make available for public
        inspection and, where available, photocopying”). This disclosure
        requirement was colloquially known as the “reading-room
        provision,” named after the physical rooms housed in agency
        headquarters where records could be viewed. See Michael Herz,
        Law Lags Behind: FOIA and Aﬃrmative Disclosure of Information, 7
        Cardozo Pub. L., Pol’y & Ethics J. 577, 586–87 (2009).
               Any documents made available for public inspection in a
        reading room were exempted from an agency’s FOIA obligation to
        produce records upon request. See 5 U.S.C. § 552(a)(3) (1988); Tax
        Analysts v. U.S. DOJ, 845 F.2d 1060, 1066–67 (D.C. Cir. 1988), aﬀ’d,
        492 U.S. 136 (1989); Mandel Grunfeld & Herrick v. U.S. Customs Serv.,
        709 F.2d 41, 42–43 (11th Cir. 1983). In other words, so long as an
        agency maintained its records for public viewing at its
        headquarters, FOIA did not require that agency to also “mail
        copies” of its records out to requestors. Tax Analysts, 845 F.2d at
        1067. So, in 1993 when the National Voter Registration Act was
        passed, the meaning of the phrase “public inspection” in FOIA’s
        nearly identically worded provision was widely understood to
        require “only availability, not delivery”—and certainly not electronic




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        delivery. Mandel Grunfeld & Herrick, 709 F.2d at 43 (quotation
        omitted); see also Nolen v. Rumsfeld, 535 F.2d 890, 891–92 (5th Cir.
        1976) (FOIA requires “availability, not delivery”).
              For FOIA, though, Congress decided to pass an update. By
        1996, three years after the National Voter Registration Act was
        enacted, Congress had recognized that the physical reading-room
        requirement was outmoded in an era of increasing digitization.
        The Electronic Freedom of Information Act Amendments of 1996
        updated FOIA by requiring agencies to make records available “by
        computer telecommunications” or “other electronic means.” Pub.
        L. No. 104-231, § 4, 110 Stat. 3048, 3049. These amendments also
        required agencies to “provide the record in any form or format
        requested by the person if the record is readily reproducible by the
        agency in that form or format.” Id. § 5, 110 Stat. at 3050. 7
               Not so for the National Voter Registration Act. Congress
        has never updated the language of the public disclosure
        provision—even when it had the perfect opportunity. Both Greater
        Birmingham Ministries and the partial dissent argue that the Act’s
        public disclosure provision must be read in concert with the later-
        enacted Help America Vote Act of 2002. Partial Dissent at 14–18.
        Of course that is true—but it does not change the result here. The
        Help America Vote Act amended certain portions of the National


        7 The 1996 amendments were followed by the FOIA Improvement Act of

        2016, which amended § 552(a)(2)’s “public inspection and copying” provision
        to read “public inspection in an electronic format.” Pub. L. No. 114-185, § 2,
        130 Stat. 538, 538.




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        Voter Registration Act by explicit reference; the public disclosure
        provision is not among them. E.g., Pub. L. No. 107-252, § 903, 116
        Stat. 1666, 1728 (2002). What’s more, the Act caveats that apart
        from those speciﬁed provisions, it does not “supersede, restrict, or
        limit the application of ” the National Voter Registration Act. 52
        U.S.C. § 21145(a), (a)(4). Whatever the overlap between the two
        statutes’ broadest purposes may be, we cannot make the Help
        America Vote Act override provisions of the National Voter
        Registration Act that it explicitly disclaims amending.8
               In short, “public inspection” as used in the National Voter
        Registration Act does not include electronic disclosure. Congress
        has recognized this shortcoming in FOIA but has not acted for the
        National Voter Registration Act. No amount of purpose-driven
        inference can expand the meaning of a statute, and we cannot step
        in to help.
                                              B.
               The same goes for the Act’s “photocopying” provision—
        electronic production of a database does not ﬁt there, either. This
        is one of those times when common sense is likely enough. After


        8 The partial dissent also points to an Alabama statute requiring the Secretary

        to disclose “requested voter lists in a timely manner” and forbids
        “[h]indrances” created “to delay transmission” of the requested lists. Ala.
        Code § 17-4-38(a); Partial Dissent at 15–18. But Greater Birmingham
        Ministries did not bring suit under Alabama law—it brought suit under the
        National Voter Registration Act. Compliance with the former is irrelevant to
        understanding what the latter requires.




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        all, if you can’t put something on a photocopy machine, you can’t
        photocopy it. But we will go further. The United States’s own cited
        dictionaries deﬁne “photocopy” as “a photographic reproduction
        of (printed or graphic material)” and “a negative or positive
        photographic reproduction of graphic matter.” Photocopy, The
        American Heritage Dictionary of the English Language (3d ed.
        1992); Photocopy, Webster’s Third New International Dictionary of
        the English Language (1993 ed.). An electronic database is not
        “printed or graphic material.” And electronic ﬁles are not
        “photographic reproductions” of the underlying records. As any
        former intern can tell you, if your boss asks for a photocopy of a
        document, you walk over to the photocopier, feed the original into
        the machine, and return with a physical, printed copy. Most
        employers would be quite surprised to receive an email attachment
        or ﬂash drive instead.
               Nor can we strip “photo” from “photocopy,” as the United
        States would have us do. It cites several cases—from other courts,
        interpreting other statutes—that say a “copy” of a document can
        be electronic. We have no argument with that. But just because
        an electronic copy ﬁts within the broader term “copy” does not
        mean it also satisﬁes the narrower category “photocopy.” Ancient
        scribes copied important texts by hand. Are they photocopies too?
        A comparable argument would be that because squares and
        triangles are both shapes, squares are also triangles. Obviously not.
        Even if “copy” can include electronic production, “photocopy”
        cannot.




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                                         C.
               The district court agreed—it concluded that “the text of the
        public-inspection provision does not speciﬁcally provide for digital
        access.” The inquiry should have ended there. Instead, the court
        proceeded beyond the statute’s terms, deciding that electronic
        production was required “in the speciﬁc circumstances of this case,
        where the records are already kept in digital form, where providing
        them in any other form would unduly interfere with the NVRA’s
        express purposes, and where the window of time before the
        registration deadline for the next election is so slim.” The court
        reasoned that to “hold otherwise would be to sanction precisely the
        kind of administrative chicanery and ineﬃciencies that the NVRA
        was designed to prevent.” (alteration adopted) (quotation
        omitted).
               We disagree. Holding that a party did not violate the law is
        diﬀerent than approving of its behavior. And we cannot change the
        requirements of a statute just because doing so seems consistent
        with its goals. After all, “purpose cannot be used to contradict text
        or to supplement it.” Bellitto, 935 F.3d at 1201 (alteration adopted)
        (quotation omitted). Indeed, “the NVRA is particularly ill-suited to
        focus on purpose rather than text because the statute’s purposes
        are multiple and in some tension with each other.” Id. Simply put,
        the Act’s public disclosure provision does not speak of digital
        storage, time pressures, or “administrative chicanery.” It speaks of
        “public inspection” and “where available, photocopying.” 52 U.S.C.
        § 20507(i)(1). The exigencies of one case, however compelling,
        cannot expand unambiguous text beyond its plain command. “The




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        statute says what it says—or perhaps better put here, does not say
        what it does not say.” Cyan, Inc. v. Beaver Cnty. Emps. Ret. Fund, 583
        U.S. 416, 426 (2018).
                                         V.
               The ﬁnal question is whether the Act regulates the fees the
        Secretary may charge for electronic production. Because the Act
        does not require electronic production at all, the answer is simple:
        it poses no limit. The Act’s disclosure provision cannot conﬂict
        with the Secretary’s one-cent-per-record fee because that provision
        “has nothing whatsoever to do with” electronic production in the
        ﬁrst place. Florida State Conf. of the NAACP v. Browning, 522 F.3d
        1153, 1168 (11th Cir. 2008). The district court therefore erred by
        ordering the Secretary to charge a “reasonable fee” for these
        records “based on the actual costs” incurred in their production.
                                   *      *      *
               At bottom, all three parties—Alabama, Greater Birmingham
        Ministries, and the United States as amicus curiae—resort to fair-
        weather textualism, applying the ordinary meaning of the Act’s
        text only when it suits them. Alabama tries to evade a
        straightforward requirement to produce voter records relating to
        implementation of its felon disenfranchisement rules. We will not
        artiﬁcially narrow that command. As for attempts by Greater
        Birmingham Ministries and the United States to read electronic
        production into the Act, we are not insensitive to the charge that
        the public disclosure provision is an awkward ﬁt for today’s
        technology. But that does not give this Court a license to legislate.




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        Perhaps, as the partial dissent proposes, “Congress should amend
        the public disclosure provision because satisfying an applicant’s
        request through digital production is more eﬃcient, cost-eﬀective,
        and timely than any other method of production the State has
        proposed.” Partial Dissent at 25. Maybe Congress will agree, too—
        it has already made that change (twice) with the Freedom of
        Information Act. But unless and until it does so for the National
        Voter Registration Act, we will decline “to apply laws that have not
        yet been written.” Sony Corp. of Am. v. Universal City Studios, Inc.,
        464 U.S. 417, 456 (1984). And because the Act does not require
        electronic disclosure, it also does not decide what fee, if any, the
        Secretary would be entitled to charge for the electronic records
        sought here.
                In sum, the voter records that Greater Birmingham
        Ministries requests are covered by the National Voter Registration
        Act’s public disclosure provision. But because the Secretary was
        not required to turn those records over in an electronic format, the
        district court’s injunction ordering the Secretary to produce the
        records electronically was improper. The same is true for its
        direction that the parties reach agreement on a reasonable fee.
              We REVERSE the district court’s order and REMAND for
        proceedings consistent with this opinion.




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        22-13708 ABUDU, J., concurring in part and dissenting in part      1

        ABUDU, Circuit Judge, concurring in part and dissenting in part:
               On appeal, the Majority Opinion aﬃrms the district court’s
        ruling that lists of individuals who, because of a disqualifying
        felony, were either removed from Alabama’s voter rolls or denied
        from registering to vote are records “concerning the
        implementation of programs and activities conducted for the
        purpose of ensuring the accuracy and currency of oﬃcial lists of
        eligible voters.” 52 U.S.C. § 20507(i)(1). Accordingly, the Majority
        Opinion ﬁnds those lists are covered by the National Voter
        Registration Act, 52 U.S.C. § 20501 et seq. (“NVRA”)’s public
        disclosure provision, and Alabama’s Secretary of State is obligated
        to disclose them as the Act directs. I agree with that decision.
               However, I depart and dissent from the remainder of the
        Majority Opinion’s holdings. The NVRA’s language and purpose,
        read in harmony, require a State to respond to applicable records
        requests, out of the growing options available for the production
        of documents, through a method that makes them meaningfully
        “available for public inspection.” 52 U.S.C. § 20507(i)(1). The
        State’s refusal to do so is the underlying problem that this appeal
        truly poses. Speciﬁcally, the NVRA requires Alabama’s Secretary
        of State to provide public documents in a manner that is expedient
        and accessible to the public. In this case, that manner is through
        production of the records in the digital format that Alabama is
        required by statute to maintain and that it already has produced to
        Greater Birmingham Ministries, pursuant to the district court’s
        order.




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        2    ABUDU, J., concurring in part and dissenting in part 22-13708

        I.    BACKGROUND
               Plaintiﬀ-Appellant Greater Birmingham Ministries
        (“GBM”), a nonproﬁt organization, requested records from
        Alabama’s Secretary of State (the “Secretary”) so that it could
        increase voter registration and turnout. Speciﬁcally, GBM sought
        to guide previously disenfranchised individuals through the
        process to have their rights restored and to register to vote. When
        the Secretary denied GBM’s requests, GBM ﬁled suit, asserting a
        cause of action for the Secretary’s violation of the NVRA.
        Following a bench trial and a district court order in GBM’s favor,
        the Secretary produced the requested documents at a negotiated
        fee in electronic format. The Secretary appeals the district court’s
        order, including the district court’s ﬁnding that the NVRA required
        the Secretary to produce the voter registration records in an
        electronic format.
                  A. Existing Law and Context on Voter Registration
                     Records
               Congress passed the NVRA, in part, to take advantage of the
        multiple opportunities that eligible voters had, through
        interactions with state agencies, to register to vote. Accompanying
        its passage of the Act, Congress made speciﬁc ﬁndings, which
        included the conclusion that “it is the duty of the Federal, State,
        and local governments” to promote the “fundamental right” of
        United States citizens to vote. 52 U.S.C. § 20501(a)(1), (2).
        Congress also found that “discriminatory and unfair registration
        laws and procedures can have a direct and damaging eﬀect” on




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        voters’ exercise of that right. Id. § 20501(a)(3). Considering those
        ﬁndings, Congress declared the purposes of the Act. Id. § 20501(b).
        Those purposes include: “establish[ing] procedures that will
        increase the number of eligible citizens who register to vote,”
        enabling State governments to implement the Act “in a manner
        that enhances the participation of eligible citizens as voters,” and
        “protect[ing] the integrity of the electoral process.” 52 U.S.C.
        § 20501(b)(1), (2), (3). While the Act states multiple goals, its ﬁrst
        and most often-cited purpose is to increase voter registration and
        election participation among voters. See id. One of the vehicles
        Congress established to further that overarching goal is the NVRA’s
        public disclosure provision. See id. § 20507(i). The public disclosure
        provision requires states to produce records related to their
        maintenance of voter rolls, and those records typically identify
        eligible and potentially eligible voters who have and who have not
        registered to vote. See id.
               Several years after passing the NVRA, Congress enacted the
        Help America Vote Act, 52 U.S.C. § 20901, et seq., (“HAVA”), which
        compelled states to adopt election and voter registration systems
        that comport with modern-day technology. See Pub. L. No. 107-
        252, 116 Stat. 1666. In addition to requiring states to maintain “a
        single, uniform, oﬃcial, centralized, interactive computerized
        statewide voter registration list,” HAVA requires voter registration
        records to be maintained accurately. See 52 U.S.C. § 21083(a)(1)(A),
        (a)(2)(A), (a)(4). HAVA’s accuracy standard includes safeguards
        against improper removal of voters and requires removal of




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        ineligible voters to be “consistent with the National Voter
        Registration Act.” Id.
                From the passage of the U.S. Constitution all the way to
        modern-day voting rights acts like the NVRA and HAVA, Congress
        has delegated signiﬁcant responsibility and some discretion to the
        states in the administration of election laws. See U.S. Const., Art. I,
        § 4, cl. 1 (“The Times, Places and Manner of holding Elections for
        Senators and Representatives, shall be prescribed in each State by
        the Legislature thereof.”); see also 52 U.S.C. § 20503(a) (establishing
        voter registration procedures and standards, but allowing state
        discretion in implementation); id. § 21083 (same, but for
        requirements regarding voter registration recordkeeping).
        Congress’s trust in the States, especially Alabama, unfortunately
        has been tempered by the countless examples of eﬀorts election
        oﬃcials have taken to narrow the avenues designed to protect the
        fundamental right to vote. 1



        1 As recently as last year, Alabama has persistently refused to comply with

        federal laws regarding voting rights. For example, in Singleton v. Allen, a three-
        judge panel in Alabama was faced with such a refusal following the grant of a
        preliminary injunction on the basis that the State’s proposed redistricting map
        unlawfully diluted the votes of Black Alabamians, in violation of Section 2 of
        the Voting Rights Act. See Singleton v. Merrill, 582 F. Supp. 3d 924, 1026 (N.D.
        Ala. Jan. 24, 2022). After the Supreme Court resoundingly affirmed the district
        court panel, Allen v. Milligan, 599 U.S. 1 (2023), the State continued to insist
        that it was not required to redraw its map as ordered by the panel. Singleton
        v. Allen, No. 2:21-CV-1291-AMM, 2023 WL 6567895, at *1–2 (N.D. Ala. Oct. 5,
        2023). As the district court explained before ordering the map be redrawn by
        a special master, “[w]e are not aware of any other case in which a state




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               Alabama does not stand alone; there have been many
        lawsuits exposing how, even when state agencies do have voter
        registration information available, that information is not readily
        accessible to all people, especially those with disabilities, those of
        color, and those living in rural communities. See, e.g., Project
        Vote/Voting for Am., Inc. v. Long, 682 F.3d 331, 333 (4th Cir. 2012) (suit
        ﬁled for Virginia’s failure to provide registration records that “a
        nonproﬁt organization seeking to increase voter registration
        among young, low-income, and minority voters” requested
        pursuant to the NVRA’s public disclosure provision); Voter Reference
        Found., LLC v. Torrez, No. CIV 22-0222 JB/KK, 2024 WL 1347204, at
        *34 (D.N.M. Mar. 29, 2024) (contesting New Mexico’s
        criminalization of sharing voter data where plaintiﬀ nonproﬁt
        asserted “that it is too diﬃcult and expensive for individuals . . . to
        get the same access to voter data as political campaigns without
        [plaintiﬀ] obtaining and disseminating the information”); Project
        Vote, Inc. v. Kemp, 208 F. Supp. 3d 1320, 1329 (N.D. Ga. 2016)
        (nonproﬁt plaintiﬀ ﬁling suit after Georgia’s failure to provide all
        records requested pursuant to the public disclosure provision,
        where plaintiﬀ had concerns about improper denial of registration
        arising from citizenship inquiries). Such suits show that the public


        legislature — faced with a federal court order declaring that its electoral plan
        unlawfully dilutes minority votes and requiring a plan that provides an
        additional opportunity district — responded with a plan that the state
        concedes does not provide that district.” Id. at 2. Such behavior on Alabama’s
        part accurately reflects only some of the backdrop against which the instant
        dispute over voter registration records takes place.




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        disclosure sections of both the NVRA and HAVA have been critical
        to shining a bright light on state government activities when it
        comes to protecting the fundamental right to vote. 2 Here, the
        Secretary’s ongoing eﬀort through this lawsuit to curtail a
        nonproﬁt’s access to voter information for the primary purpose of
        encouraging people to vote is just the most recent example of why
        the NVRA, HAVA, and other voting laws remain critical.
                    B. GBM’s Voter Registration Records Requests
               GBM is a nonproﬁt, community-based organization that
        provides “ﬁnancial help, food, clothing, and support to families and
        individuals in crisis,” including the estimated 27% of children in
        Jeﬀerson County living through generational poverty. Greater
        Birmingham Ministries, Serving People, https://gbm.org/serving-
        people/ (last accessed May 30, 2024). Voter participation across the
        country, and especially in southern and more rural areas, has
        increased over the years as a direct result of organizations making
        a concerted eﬀort to increase such participation. As one such
        organization, GBM educates policy makers and other stakeholders
        about the economic challenges thousands of Alabamians
        experience, and it incorporates voter registration drives and “Get
        Out the Vote” initiatives to increase voter turnout and political
        power in marginalized communities. See Greater Birmingham



        2 “Sunlight is said to be the best of disinfectants; electric light the most efficient

        policeman.” Louis D. Brandeis, What Publicity Can Do, Harper’s Weekly, Vol.
        58 (Dec. 20, 1913).




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        Ministries, Voter Registration, https://gbm.org/voter-restoration/
        (last accessed May 30, 2024).
               To accomplish its goal of increasing voter registration, GBM
        sought information regarding (1) individuals who were removed
        from the voter rolls or had their voter registration applications
        denied due to a disqualifying felony conviction, and (2) all
        individuals removed from the voter rolls for any reason following
        the 2020 general election. Given Alabama’s requirement under
        HAVA and Ala. Code § 17-4-38 to maintain all its voter registration
        records in an electronic format, GBM also asked that the Secretary
        electronically produce the records containing the information
        sought.
                The Secretary refused to produce the records GBM sought.
        Instead, he oﬀered to sell some of the records in electronic format
        at a price of $0.01 per name, or to have GBM inspect those records
        in-person, subject to numerous restrictions. However, the
        Secretary insisted that records with information regarding
        disenfranchised individuals were not available for sale or review at
        all. After failed negotiation attempts with the State, and upon
        providing the necessary pre-suit notice under the NVRA, GBM
        ﬁled suit against the Secretary, asserting that his refusal to provide
        the requested records without charge violated the NVRA.
                  C. Procedural History and Pertinent Evidence at Bench
                     Trial
              After denying the Secretary’s motions to dismiss GBM’s
        original and amended complaints, the district court held a two-day




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        bench trial. Following the trial, the district court made several
        ﬁndings related to the Secretary’s practices of managing voter
        registration records. First, the court found that the Secretary
        “maintains all of the information that GBM [ ] requested in a digital
        database.” The court further found that the Secretary regularly
        sells reports regarding the State’s voter rolls to the public, and he
        provides those reports to buyers via a data-sharing tool such as
        DropBox 3 or, if the data set is small enough, via email. In addition,
        the court noted that the Secretary “[did] not maintain on paper the
        information that GBM [ ] requested.”
               Unrebutted evidence presented at trial demonstrated several
        other facts regarding the Secretary’s relevant practices and
        operations. Conspicuously, the Secretary of State’s Oﬃce modiﬁed
        its open records policy less than a month before the bench trial.
        Prior to this modiﬁcation, digital format was essentially the only
        method through which the Secretary responded to open records
        requests. In fact, the Secretary’s deputy chief of staﬀ testiﬁed that
        “[w]hen somebody requests a voters list . . . we’re assuming that
        they’re wanting to buy the voters list.” He explained that,
        accordingly, the oﬃce would not initially oﬀer in-person inspection
        to individuals inquiring about the lists. That same deputy chief

        3 Dropbox is a digital file storage provider which allows users to store files,

        documents, and photos online with the ability to access them from any device.
        Dropbox, Features, https://www.dropbox.com/features (last accessed May
        30, 2024). Pertinent to the dispute here, Dropbox allows users to “[e]asily
        share files and folders from . . . cloud storage, simply by copying a link,” and
        “[t]ransfer large files . . . by sending a link for recipients to download.” Id.




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        testiﬁed that since joining the Secretary’s oﬃce in 2012, he recalled
        the oﬃce oﬀering in-person inspection of records less than ten
        times, and he was aware of no instance in which in-person
        inspection actually occurred. Perhaps because the State realized
        that it could not seriously launch a defense while it exclusively
        relied on a computerized voter registration database, it established
        a new policy to permit in-person inspection of records.
                Pursuant to the Secretary’s new public inspection policy,
        applicants may, after submitting a written request, come to the
        Secretary’s oﬃce in Montgomery for no more than four hours to
        sift through thousands of voter registration records. Individuals
        who engage in in-person inspections may not bring cell phones,
        cameras, or audio/visual equipment.                 The Secretary’s
        representative conﬁrmed at trial that these restrictions are
        generally “to prevent folks from getting around having to pay for
        these lists.” Similarly, the policy permits inspectors to take only
        “limited notes on paper,” which again is intended “to prevent
        people from copying verbatim” the information in the records.
        Prior to any in-person inspection, the Secretary’s staﬀ ﬁrst pulls
        from the electronic database any records responsive to the
        prospective inspector’s request. Although the staﬀ requires
        assistance from a third-party contractor to pull some records, the
        Secretary’s Oﬃce relies upon that contractor whether the request
        involves the sale of records or in-person inspection. Those records
        are then uploaded onto a public computer for inspection at the
        Secretary’s oﬃce. The format of the records on the public
        computer is the same as that provided for sale, i.e. they are in digital




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        format. However, the Secretary does not charge a fee for this in-
        person inspection of the records. Finally, the Secretary requires
        that any public inspection of voter registration records be
        supervised by a member of his staﬀ. The Secretary’s deputy chief
        admitted that this new public-inspection policy was more
        expensive for the State than the digital delivery method he regularly
        employed.
               There also was testimony at trial regarding the practical
        implications of the Secretary’s policies and refusal to provide
        records pursuant to the NVRA. In particular, the unrebutted
        testimony of GBM’s lead volunteer explained the diﬃculties
        inherent in “public inspection,” as deﬁned by the Secretary’s new
        policy. She stated that “the only meaningful way to receive this
        data would be electronically . . . so that it can be organized” and
        utilized eﬀectively for purposes such as “assist[ing] people in
        correcting [registration] errors and helping them restore their
        voting rights or register to vote.” Any other format, she said,
        would be “[e]xtremely less helpful.” She explained that GBM “can’t
        work with information that’s just on a computer screen that we
        look at. . . . [W]e’re not looking at one document or . . . one
        paragraph of information. These are voter lists.” The lead
        volunteer said that in comparison to electronic records, sitting in
        an oﬃce to look at a list of 112,000 names on a computer, with only
        an allowance for limited note taking, would be “completely
        absurd.”




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                   D. The District Court’s Instructions to Produce Electronic
                      Records
               The district court held that the Secretary was required to
        provide GBM the records it sought in digital form. In reaching that
        conclusion, the court explained that “time” was “now of the
        essence, through no fault of GBM,” noting that despite the rapid
        pace of litigation there was less than three weeks between the date
        of the court’s order and the registration deadline for the November
        2022 election. GBM initially ﬁled its records request in the spring
        of 2021, with the goal of increasing voter registration for the 2022
        general elections. Despite GBM’s early and consistent eﬀorts, the
        Secretary was still dragging his feet in 2022. At that point, the
        Secretary still refused to provide, without charge, the most basic
        information the NVRA covers – data regarding the “voters that
        were removed from the list . . . pursuant to the NVRA.” With
        Alabama’s voter registration deadline quickly approaching, there
        remained possibly hundreds of eligible voters who were unaware
        of their rights. 4 As the district court emphasized, “outreach to


        4 Despite efforts to the contrary, there remains an astounding number of

        disenfranchised adults in Alabama, many of whom may be eligible to have
        their rights restored. See How To: Restore Your Voting Rights, ACLU of Alabama
        (last revised Aug. 31, 2020) (https://www.aclualabama.org/en/how-
        to/restore-your-voting-rights) (explaining that “[c]onfusion about and
        misapplication of [felony disenfranchisement] laws . . . disenfranchise
        countless [] Alabamians” but that “[a] new law enacted in 2017 . . . ma[de] it
        easier for many to restore their voting rights.”); see also Christopher Uggen et
        al., Locked Out 2022: Estimates of People Denied Voting Rights, The Sentencing
        Project (Oct. 25, 2022), (https://sentencingproject.org/reports/locked-out-




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        voters must be conducted before the registration deadline in order
        to be eﬀective.” In addition, the court considered testimony from
        GBM’s lead volunteer that “these timelines are now extremely
        tight” and that with respect to the November 2022 election, GBM
        already “cannot be as eﬀective as [it] might have been . . . had [it]
        had th[o]se records some months ago.”
               In reaching its ruling, the district court also cited the NVRA’s
        goals of “establish[ing] procedures that will increase the number of
        eligible citizens who register to vote,” “protect[ing] the integrity of
        the electoral process,” and “ensur[ing] that accurate and current
        voter registration rolls are maintained.” The court held that the
        NVRA’s public disclosure provision “requires digital access in the
        speciﬁc circumstances of this case, where the records are already
        kept in digital form, where providing them in any other form
        would unduly interfere with the NVRA’s express purposes, and
        where the window of time before the registration deadline for the
        next election is so slim.”5 The district court declined to hold that
        the provision always requires digital access. However, given the


        2022-estimates-of-people-denied-voting-rights/) (estimating that in Alabama,
        “more than 8 percent of the adult population, one of every 13 adults, is
        disenfranchised”).
        5 When federal courts are confronted with election law disputes and limited

        time before an election, there are “considerations specific to election cases”
        that they must weigh. Purcell v. Gonzalez, 549 U.S. 1, 4 (2006). Nonetheless,
        those considerations cannot control appellate review, and even in such
        constrained situations, this Court must give deference to the district court’s
        role in making factual findings. Id. at 5.




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        time constraints on GBM and the district court’s other factual
        ﬁndings, the court ruled that a method other than electronic
        delivery in this case would contravene the purpose of the NVRA.
        II.    STANDARD OF REVIEW
                We review de novo the district court’s statutory
        interpretation of the NVRA. Serrano v. U.S. Atty. Gen., 655 F.3d
        1260, 1264 (11th Cir. 2011). A district court’s factual ﬁndings
        following a bench trial are reviewed for clear error. Hodges v. United
        States, 78 F.4th 1365, 1374 (11th Cir. 2023); see also Fla. Int’l Univ. Bd.
        of Trs. v. Fla. Nat’l Univ., Inc., 830 F.3d 1242, 1253 (11th Cir. 2016)
        (“[W]e review factual ﬁndings only for clear error, drawing all
        inferences in favor of the district court’s decision.”) (internal
        citations omitted); Anderson v. City of Bessemer City, 470 U.S. 564, 573
        (1985) (“A ﬁnding is clearly erroneous when although there is
        evidence to support it, the reviewing court on the entire evidence
        is left with the deﬁnite and ﬁrm conviction that a mistake has been
        committed.”) (internal quotations and citations omitted). The
        district court’s application of law to the facts is reviewed de novo.
        Holston Invs., Inc. v. LanLogistics, Corp., 677 F.3d 1068, 1070 (11th Cir.
        2012).
        III.   DISCUSSION
               The Secretary presented the issue on appeal as follows:
        “Does the NVRA require States to make available electronic copies
        of records?” The answer is yes, when electronic copies of records
        are the most cost-eﬀective, eﬃcient, and timely manner of delivery.
        This conclusion is bolstered by the express policy of the NVRA and




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        the textually permissible reading that inspection, as used in the Act,
        necessitates an opportunity for meaningful examination.
        Moreover, given electronic delivery was the only method through
        which the Secretary generally oﬀered to produce records when
        GBM submitted its request, the organization chose the only option
        the Secretary had made available to it.
                  A. The NVRA Must Be Read in Harmony with Related
                     Statutes
               The NVRA, as its name suggests, is focused on a wholistic
        approach to voter registration.            This approach includes
        disseminating voter education materials, increasing voter
        registration opportunities, and guiding civic organizations in their
        outreach to register eligible voters. See, e.g., 52 U.S.C. § 20504
        (requiring state driver’s license applications to include the option
        for simultaneous registration to vote); id. § 20506 (requiring the
        designation of voter registration agencies and establishing
        requirements for those agencies). To increase public conﬁdence in
        the voter registration process, the NVRA requires the Secretary to
        “make available for public inspection . . . all records concerning the
        implementation of programs and activities conducted for the
        purpose of ensuring the accuracy and currency of oﬃcial lists of
        eligible voters.” Id. § 20507 (i). The statute additionally obliges the
        Secretary to ensure that “the maintenance of an accurate and
        current voter registration roll” for federal elections is “uniform”
        and “nondiscriminatory.” Id. § 20507(b).




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                The standards articulated in HAVA, accompanied by
        multiple internal references to the NVRA, indicate that HAVA
        should be read in concert with the NVRA. See Antonin Scalia &
        Bryan A. Garner, Reading Law § 39 (2012) (“[L]aws dealing with the
        same subject . . . should if possible be interpreted harmoniously.”);
        2 Felix Frankfurter, Some Reﬂections on the Reading of Statutes, 47
        Colum. L. Rev. 527, 539 (1947) (“Statutes cannot be read
        intelligently if the eye is closed to considerations evidenced in
        aﬃliated statutes.”). Reading the NVRA and HAVA together, it is
        clear that HAVA was similarly designed, in part, to increase voter
        access. Compare 52 U.S.C. § 20501(b) (expressing the NVRA’s
        purpose of increasing eligible voter participation), with id.
        § 21083(b)(2)(B) (establishing “fail-safe voting,” and allowing
        provisional ballots to be cast when certain requirements are not
        met at the time of the election).
                Federal courts also consider state laws on voter registration
        records when addressing claims brought under the NVRA. See, e.g.
        Bellitto v. Snipes, 935 F.3d 1192, 1195 (describing relevant Florida law
        regarding voter registration list maintenance); Project Vote, 682 F.3d
        at 335 (analyzing Virginia’s law for ﬁle maintenance in the context
        of an NVRA lawsuit). Relevant to this case, Alabama maintains its
        voter registration rolls in accordance with HAVA and the State’s
        own NVRA-implementing legislation, Ala. Code § 17-4-38. HAVA
        provides that:
               [E]ach State . . . shall implement, in a uniform and
               nondiscriminatory manner, a single, uniform, oﬃcial,




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               centralized, interactive computerized statewide voter
               registration list deﬁned, maintained, and administered at the
               State level that contains the name and registration
               information of every legally registered voter in the State and
               assigns a unique identiﬁer to each legally registered voter in
               the State.
        52 U.S.C. § 21083(a)(1)(A). Accordingly, Alabama maintains the
        lists that GBM requested in an “oﬃcial, centralized, interactive
        computerized statewide” database. The Secretary’s deputy chief
        of staﬀ conﬁrmed at trial that this database is the same one from
        which the Secretary provides voter registration records.
                In addition to HAVA, Alabama law requires the Secretary to
        produce public voter registration records “in a timely manner,” and
        forbids any “[h]indrances” that the Secretary might “create[] or
        devise[]” to delay its production. Ala. Code § 17-4-38(a). This
        statutory language tracks with the established purpose of the
        NVRA’s public disclosure provision. As the Fourth Circuit
        explained, “[the public disclosure provision] embodies Congress’s
        conviction that Americans who are eligible under law to vote have
        every right to exercise their franchise, a right that must not be
        sacriﬁced to administrative chicanery, oversights, or ineﬃciencies.”
        Project Vote/Voting for Am., Inc. v. Long, 682 F.3d 331, 334–35 (4th Cir.
        2012). Alabama’s legislature also identiﬁed circumstances in which
        electronic production is required for purposes of timely delivery.
        See Ala. Code § 17-4-38(f ), (g). Therefore, the State already has set
        electronic production as the benchmark for purposes of ensuring




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        that documents are produced in a timely manner. Given our
        current technology, there is nothing more readily available than
        attaching an electronic ﬁle to an email and pressing “send.”
                  B. The NVRA’s Requirements When Read in Harmony
                     with HAVA and Alabama Law
               As explained above, the NVRA’s public inspection provision,
        including Section 20507(i)(1)’s requirement that the Secretary
        “make available for public inspection” the relevant records, must be
        considered in harmony with HAVA and Alabama law regarding the
        maintenance and distribution of voter registration lists. The
        records covered by this provision are “all records concerning the
        implementation of programs and activities conducted for the
        purpose of ensuring the accuracy and currency of oﬃcial lists of
        eligible voters . . . .” 52 U.S.C. § 20507(i)(1). HAVA requires such a
        list to be computerized, see id. § 21083, and testimony at trial
        conﬁrmed that, in this case, the computerized list and the one the
        Secretary provides in response to NVRA requests are one and the
        same. Section 17-4-38 of the Alabama Code, which also governs
        the Secretary’s maintenance and reproduction of the same
        computerized list, further requires a “timely” response to records
        requests without “[h]indrances” or “delay.” Ala. Code § 17-4-38(a),
        (c).
               Despite the requirements above, the Secretary’s public
        inspection policy and continued refusal to provide digital records
        are the epitome of hindrance and delay. The Secretary has spent
        Alabama’s limited ﬁnancial resources and staﬀ time on challenging




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        a law speciﬁcally designed to block him from engaging in the
        recalcitrant behavior fully on display in this case. Without any
        shame, the Secretary is openly undermining transparency in the
        voter registration process and ﬁnancially hamstringing local voter
        outreach groups. The public inspection policy the Secretary’s
        deputy chief described places exhausting limits on access to
        records. Even worse, the deputy chief admitted that those
        restrictions are intended to discourage use of the public inspection
        procedures so that individuals seeking records will purchase them
        instead. The Secretary’s appeal, therefore, is more about whether
        he can impose an onerous, unreasonable, and unnecessary barrier
        to lower-resourced community groups than whether he has the
        legal obligation and ability to maintain and produce the public
        documents in an electronic format.
              In sum, the Secretary’s records policy does not comply with
        the eﬃciency mandates of HAVA and Alabama law, which this
        Court must consider in resolving the instant action brought
        pursuant to the NVRA’s public disclosure provision. Because the
        Secretary declined to demonstrate or identify any other method by
        which he can timely respond to NVRA records requests without
        hindrance or delay, the public disclosure provision requires him to
        provide the records in digital format. See 52 U.S.C. § 20507(i)(1);
        Ala. Code § 17-4-38(a), (c).




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                   C. The Role of the NVRA’s Purpose in Interpreting the
                      Act
               It is a basic canon of statutory construction that jurists
        should favor an interpretation that furthers, rather than obstructs,
        the statute’s purpose. The canon is the rational implication of
        three realities: “(1) interpretation always depends on context, (2)
        context always includes evident purpose, and (3) evident purpose
        always includes eﬀectiveness.” Scalia & Garner, supra, § 4. Thus, it
        is no surprise that the Supreme Court has emphasized the
        importance of statutory purpose for over two-hundred years. See
        The Emily, 22 U.S. 381, 389 (1824) (“To apply the construction
        contended for on the part of the claimant . . . would be rendering
        the law in a great measure nugatory, and enable oﬀenders to elude
        its provisions in the most easy manner.”). A statute’s purpose aids
        in selecting among textually permissible meanings, and purpose
        cannot be used to amend the text; however, neither can purpose be
        ignored when the practical eﬀect of one construction renders a
        provision of the text ineﬀective. See Cnty. of Maui v. Hawaii Wildlife
        Fund, 590 U.S. 165, 178–79 (2020) (rejecting plaintiﬀ’s proﬀered
        interpretation of a statute where the Court did “not see how
        Congress could have intended to create such a large and obvious
        loophole” in the regulation at issue).
               Here, the Secretary’s refusal to provide records in digital
        format undercuts the policy goals that Congress seeks to advance
        through the NVRA, of which HAVA and Ala. Code § 17-4-38 are
        related extensions. As the Majority Opinion correctly states, “[t]o
        ‘inspect’ is to ‘look carefully into’ or to ‘view closely and critically.’”




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        Maj. Op. at 15 (quoting Inspect, Oxford English Dictionary (2d ed.
        1989)). Nevertheless, the Majority opinion relies on Mandel
        Grunfeld & Herrick v. U.S. Customs Service, 709 F.2d 41, 42–43 (11th
        Cir. 1983), in ruling that the NVRA only requires in-person public
        inspection. Maj. Op. at 16–17. Mandel Grunfeld, however, is a forty-
        year-old case brought under the Freedom of Information Act
        (“FOIA”) that only analyzed the meaning of “available,” and was
        issued well before the extensive reliance by government agencies
        on computerized databases and before HAVA and Alabama’s
        requirements that all voter registration records be maintained
        electronically. 709 F.2d at 42–43. In Mandel Grunfeld, the crux of
        the plaintiﬀ’s complaint was the government’s decision not to mail
        him the records requested because he did not wish to travel to the
        location where the records were stored, but there was never any
        assertion that meaningful inspection was impossible. Id. at 41–43;
        see also Nolen v. Rumsfeld, 535 F.2d 890, 891–92 (5th Cir. 1976) (ruling
        against plaintiﬀ in FOIA case where federal agency made
        “available” the documents related to plaintiﬀ’s requests, and where
        there were no restrictive limitations on plaintiﬀ’s access to
        documents). Thus, while the meaning of “available” has received
        some attention, this Court has not comprehensively addressed the
        meaning of “inspection” in a records-request context where an
        agency has erected onerous time, place, and manner restrictions on
        accessing public documents.
              The trial testimony of GBM’s lead volunteer spoke precisely
        to GBM’s goal of inspecting the records, which was frustrated by
        the Secretary’s policy. In lists consisting of over a hundred-




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        thousand names, it is simply not possible for individuals to fully,
        carefully, or critically review the entries for errors in the span of
        four hours without the aid of technology, other than limited note-
        taking. While this Court has explained that “availability” is not
        “delivery,” Mandel Grunfeld, 709 F.2d at 43, it has not addressed the
        meaning of “inspection,” particularly as it relates to the format in
        which the records are provided. The plaintiﬀ in Mandel Grunfeld did
        not argue that the records sought were less subject to inspection
        when he was compelled to travel for inspection and copying. See
        id. at 42–43. His ability to inspect the records remained the same,
        whether from his home in Florida or in a government oﬃce in
        Puerto Rico. Not so here.
                The Secretary’s public inspection policy precludes
        individuals from “look[ing] carefully into” or “view[ing] closely
        and critically” the voter registration records. See Inspect, Oxford
        English Dictionary (2d ed. 1989). As evidenced at the trial, GBM
        was unable to engage in any meaningful review of the voter
        registration records under the Secretary’s new policy. In other
        words, the Secretary’s failure to provide the documents sought in
        digital format is a failure to allow an inspection of the same. Thus,
        the Secretary’s policy violates the NVRA’s requirement that the
        records be made “available for public inspection.” See 52 U.S.C.
        § 20507(i)(1) (emphasis added).
               Although this Court previously rejected arguments based on
        the import of the NVRA’s purpose in Bellitto v. Snipes, that case is
        distinguishable. 935 F.3d at 1201. In Bellitto, the Court




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        acknowledged that some of the NVRA’s purposes are “in some
        tension with each other.” Id. The Court explained that arguments
        premised on one purpose (ensuring that voter rolls remain
        accurate and current) did not mandate the proﬀered construction
        of the text, which would possibly run contrary to another NVRA
        purpose (increasing voter registration). Id. Accordingly, the Court
        declined to consider the NVRA’s purpose at all, and it limited its
        analysis to the text of the statute, which the Court had already
        found to be “plain and unambiguous.” Here, in contrast, there is
        neither evidence nor argument indicating that the Secretary’s
        provision of voter registration records in digital format would
        undermine any purpose of the NVRA. Therefore, while purpose
        should not be the determinative factor in every case involving
        statutory interpretation, it should prevail here when ignoring the
        statute’s purpose enables one party to eﬀectively evade the law.
                Considering the impracticality of the Secretary’s public
        inspection policy, the absence of any valid rationale supporting that
        policy, and the low burden the Secretary bears for producing digital
        records, his persistent refusal to provide records requested
        pursuant to the NVRA in digital format equates to evading the
        NVRA’s disclosure requirements. Accordingly, the Secretary’s
        interpretation of “public inspection” should be rejected. The
        district court’s factual ﬁndings regarding the eﬃciency, cost-
        eﬀectiveness, and timeliness of sending the documents
        electronically were not clearly erroneous, and this Court should
        aﬃrm the district court’s ruling that production of the documents
        in digital format in this case was required under the NVRA.




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                  D. The Reasonable Fee Dispute
               On appeal, the Secretary also questions whether, if the
        NVRA does require the production of electronic records, “does the
        Secretary of State’s fee of one cent per name constitute a
        ‘reasonable cost’?” In response to his own question, the Secretary
        contends that if he must produce lists electronically, “the
        Secretary’s fee for all requesters is reasonable.”
                GBM primarily argues that the fee dispute is moot but, as
        the Majority Opinion correctly noted, it is not. Maj. Op. at 8 n.3.
        GBM also asserts that “[i]f ‘public inspection’ includes . . . access to
        electronic records, the NVRA arguably does not allow the
        Secretary to impose any fee for that access.” GBM further explains
        that it does not outright oppose any fee, but it argues that any fee
        must be reasonably linked to the State’s cost of production, as
        opposed to the existing fee, which results in an inﬂated cost for
        production of the list.
               In this case, we need not address the contours of
        reasonability because GBM’s right to the records in electronic
        format arises under the right to “public inspection” rather than
        “photocopying.” 52 U.S.C. § 20507(i). Here, the Secretary
        conceded at trial that the NVRA “does not allow the State to charge
        for any cost associated with public inspection.” This concession
        aligns with the plain meaning of Section 20507(i), which allows for
        “photocopying at a reasonable cost,” but does not similarly
        designate that costs may be assessed for public inspection. Id.




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                  E. The Need for Amendment to the NVRA
               As a ﬁnal note, Congress should consider amending the
        NVRA to require the production of public records in the digital
        format that states already maintain through their computerized
        voter registration databases, unless the State oﬀers a reasonable
        justiﬁcation for another method of production. The Secretary’s
        refusal to provide voter registration records in digital format runs
        contrary to both policy and practical considerations, and it exposes
        the abuses of discretion that will be mitigated by adding clarifying
        language to the NVRA.
                As the district court observed, there are unnecessary
        additional costs associated with requiring physical inspection or
        printed copies of requested public records. The Secretary’s deputy
        chief of staﬀ conceded as much. Speciﬁcally, he explained during
        his deposition and at trial that a “public inspection” pursuant to the
        Secretary’s current policy would impose, in addition to the same
        cost of data processing or ﬁltering that accompanies provision of
        digital records, the cost of a staﬀ member supervising the
        individual inspecting the records. The district court could not
        identify any rationale for this new policy other than a desire “to
        frustrate the aims of the public-inspection provision by making it
        more diﬃcult and costly for GBM to access the records to which it
        is entitled.”
               Providing for the release of voter registration records in
        digital format reduces barriers to eligible voter registration and
        participation while also making it easier to address concerns about




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        the integrity of the electoral process. It is common knowledge, and
        the district court speciﬁcally found, that records in digital format
        can be produced and utilized with greater speed and eﬃciency than
        physical copies, all at a much lower cost.
               In short, if Alabama continues to erect unnecessary and
        cost-prohibitive barriers to accessing public documents, thus
        frustrating the NVRA’s purpose and the state’s own implementing
        legislation, Congress should amend the public disclosure provision
        because satisfying an applicant’s request through digital
        production is more eﬃcient, cost-eﬀective, and timely than any
        other method of production the State has proposed.
        IV.   CONCLUSION
              For the foregoing reasons, I respectfully dissent in part.




                                                                 Exhibit A, Page 47
